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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA                                      ZD         g: ,8
              UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                                    v.                                  (For Offenses Committed On or After November I , 1987)·
                   DARTIJS CHAMBERS (2)
                                                                           Case Number:         15CR021~-JLS-V\Jf
                                                                        KNUT S. JOHNSON
                                                                        Defendant's Attorney
REGISTRATION NO.                    44174298
o-
IZI    pleaded guilty to count(s)          4 and 5 of the Indictment
                                          -----------------------------------------------------------
o   was found guilty on count(s)
    after a plea of not guilty. 

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s): 

                                                                                                                         Count
Title & Section                          Nature of Offense                                                              Number(s)
18 USC 1591(a) and (b)                   Sex Trafficking of Children                                                      4&5




     The defendant is sentenced as provided in pages 2 through                     4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o     The defendant has been found not guilty on count(s)

 IZI   Count(s)    (remaining counts)                             are         dismissed on the motion of the United States.

 IZI   Assessment: $100.00 as to each count 4 and 5 for a total of $200.00 imposed



 IZI No fine                    IZI      Forfeiture pursuant to order filed            10/2312015                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                        October 23~ 2015
                                                                        Date of Imposition of Sentence



                                                                           ON. JANIS L. SAMMARTINO
                                                                             ITED STATES DISTRICT JUDGE




                                                                                                                        15CR0278·JLS 

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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:

 Ninety-two (92) months as to each count 4 and 5 to run concurrent for a total of ninety-two (92) months




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 [8J   The court makes the following recommendations to the Bureau of Prisons:

           1. Residential Drug Abuse Program (RDAP)
           2. Incarceration in the state of Arizona


 D     The defendant is remanded to the custody ofthe United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o    at                              A.M.              on
       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons: 

       o    on or before 

       o    as notified by the United States Marshal.
       o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on
                                ______________        ~   ______    ~   ro _____________________________

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL 




                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        15CR0278·JLS
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                                                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Ten (10) years as to each count 4 and 5 to run concurrent for a total often (10) years

     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
                The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o               substance abuse. (Check, if applicable.)
t:8:J 	         The defendant shall not possess a frrearm, ammunition, destructive device, or any other dangerous weapon.
                The defendant shall cooperate in the collection of a DNA sample from the detendant, pursuant to section 3 of the DNA Analysis
t:8:J
                Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d). 

                The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et 

o	              seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
                resides, works, is a student, or was convicted of a qualitying offense. (Check if applicable.)
o	              The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

                If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
           such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
           Payments set forth in this judgment.
               The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
           with any special conditions imposed.
                                               STANDARD CONDITIONS OF SUPERVISION
           1)  the defendant shall not leave the judicial district without the permission ofthe court or probation officer; 

           2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer; 

           3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer; 

           4)  the defendant shall support his or her dependents and meet other family responsibilities; 

           5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable 

               reasons;
           6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
           7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
               any paraphernalia related to any controlled substances, except as prescribed by a physician;
           8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
               unless granted permission to do so by the probation officer;
           10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
                observed in plain view of the probation officer;
           11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
               the court; and
           13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
               personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
                  with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION



   1. 	 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of infonnation between
        the probation officer and the treatment provider. May be required to contribute to the costs of services
        rendered in an amount to be detennined by the probation officer, based on ability to pay.

   2. 	 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   3. 	 Provide complete disclosure of personal and business financial records to the probation officer as
        requested.

   4. 	 Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or
        data storage devices or media, and effects to search at any time, with or without a warrant, by any law
        enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
        probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
        duties. 18 U.S.C. §§3563(b)(23); 3583(d)(3).

   5. 	 Not use or possess devices which can communicate data via modem or dedicated connection and may
        not have access to the Internet without prior approval from the court or the probation officer. The
        offender shall consent to the installation of systems that will enable the probation officer to monitor
        computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
        of installation of the computer software.

   6. 	 With exception to defendant's family members, not have any contact, direct or indirect, either
        telephonically, visually, verbally, or through written material, or through any third-party
        communication, with the victim or victim's family, without prior approval of the probation officer.

    7. 	 Not associate with known prostitutes or pimps and/or loiter in known areas frequented by those engaged
         in prostitution.

    8. 	 Participate and successfully complete an anger management program as directed by the probation officer.




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